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                               UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON
                                      EUGENE DISTRICT




 JOHN DOE;                                                         Case No. 6:17-CV-01103-AA

                  Plaintiff,                           DEFENDANTS’ REPLY IN
                                                       SUPPORT OF THEIR MOTION TO
         v.                                            DISMISS

 UNIVERSITY OF OREGON; SANDY
 WEINTRAUB, an individual acting in his
 personal capacity; CAROL MILLIE, an
 individual acting in her personal capacity;
 and ROBIN HOLMES, an individual acting
 in her personal capacity;

                  Defendants.



I.      Introduction
In Plaintiff’s response, he argues that he should be allowed to proceed with his claims in federal

court despite the fact that he previously litigated these same issues in state court. For the reasons

raised in the Defendants’ Motion to Dismiss and as discussed below, Plaintiff is not entitled to


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do so and Defendants’ Motions should be granted. Defendants’ Motions should also be granted

because Plaintiff has failed to allege sufficient facts to state a claim for relief.

II.      Defendants Weintraub and Holmes should be dismissed as Defendants.

         In Plaintiff John Doe’s Memorandum of Law in Opposition to Defendants’ Motion to

Dismiss (the “Response”), Plaintiff appears to concede Defendants’ motion with regards to

Defendants Weintraub and Holmes.             Because Plaintiff’s complaint does not allege any

particularized facts against Defendants Weintraub and Holmes, Defendants’ motion to dismiss all

claims against those defendants should be granted.

III.     Plaintiff concedes that his UTPA Claim fails.
         As discussed in its motion, the University cannot be liable under Oregon’s Unlawful Trade

Practices Act, ORS 646.605, et seq. (“UTPA”), because the University is not a “person” as defined

therein. Plaintiff offers no argument in response to that motion and, therefore, appears to concede

that his claim fails as a matter of law. Accordingly, it should be dismissed, with prejudice.

IV.      Plaintiff’s claims against the University are barred by claim preclusion.

         A.       Claim preclusion bars Plaintiff’s claims against the University.

         Defendants moved to dismiss this action because Plaintiff’s claims are barred by claim

preclusion. In his Response, Plaintiff asserts two reasons why claim preclusion does not apply.

Although Defendants concede that claim preclusion does not bar Plaintiff’s Due Process and Equal

Protection Claims against the Individual Defendants, for the reasons set forth in Defendants’

Motion and discussed below, all of Plaintiff’s claims against the University should be dismissed

because they are barred by claim preclusion.

         B.       The only issue in dispute is whether Plaintiff could have asserted his claims
                  in the Prior Action.
         Claim preclusion applies when the claim in the second action is based on the same facts at

issue in the initial action, the plaintiff is seeking an additional remedy than what was sought in the

initial action and the new claim could have been asserted in the first case. Drews v. EBI Cos., 310

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Or. 134, 140 (1990). As discussed in Defendants’ Motion, all three elements of claim preclusion

have been met in this case. Plaintiff does not dispute that the Prior Action was based on the same

identical factual transaction that Plaintiff alleges in this case. Plaintiff also does not dispute that

he is seeking money damages in this action, which is a different remedy than he sought in the Prior

Action. The only argument raised by Plaintiff as to why claim preclusion does not bar Plaintiff’s

current claims against the University is that he could not have asserted those claims in the Prior

Action.

          C.      Plaintiff could have asserted his claims in the Prior Action.
          Plaintiff states in his Response that he is not precluded from asserting civil claims in this

case that are related to the same factual transaction asserted in the Prior Action because the civil

claims “are not of a nature that they might have been joined in [the Prior Action.]” Response, p. 7.

However, he cites no legal authority supporting his assertion that he could not have raised civil

claims in the Prior Action. Instead, he relies exclusively on communication from a court clerk and

on the procedural differences between a typical civil action and a writ of review proceeding. In

fact, Plaintiff is wrong and Oregon courts have allowed cases that combined civil claims with writs

of review. See, e.g., Spivak v. Marriott, 213 Or. App. 1, 3 (2007) (Appellants “appeal from a

judgment that dismissed plaintiff’s petition for a writ of review and his constitutional, conversion,

and contract claims . . . .”); Pangle v. Bend-Lapine Sch. Dist., 169 Or. App. 376, 385 (2000)

(concluding that plaintiff’s petition for writ of review did not foreclose consideration of plaintiff’s

section 1983 claim brought in consolidated case); O’Connell-Babcock v. Multnomah County, No.

CV-08-459-AC, 2009 WL 1139441, at *2 (D. Or. Apr. 24, 2009) (“The state court complaint

included a claim for declaratory relief and a petition for writ of review.”); Frevach Land Co. v.

Multnomah County Dept. of Envtl. Servs., No. CV-99-1295-HU, 2000 WL 1875839, at *1 (D. Or.

Dec. 21, 2000) (“Plaintiff brings First Amendment, equal protection, due process, and takings

claims as part of the section 1983 action . . . [,] intentional interference with economic relations


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claim and a petition for writ of review . . . [, and] claims for declaratory judgment and injunctive

relief.”).

        Further, it is clear from the court clerk’s communication with Plaintiff’s counsel that the

complaint was rejected because it needed to be filed separately from the writ of review, not because

the claims alleged in the complaint could not be brought in the same action with the writ of review.

Declaration of Douglas Stamm in Support of Plaintiff’s Opposition to Defendants’ Motion to

Dismiss (“Stamm Dec.”), ¶ 6 (“confirmed that a petition for writ of review had to be filed

separately from a civil complaint”); Stamm Dec., Ex. B (“The Complaint and Petition for Writ of

Review are separate documents and should be filed accordingly. . . Please correct and resubmit.”).

At no time did the clerk indicate that the Petition could not be filed in the same action as the

Complaint; the clerk was merely stating that the documents needed to be separated and then filed

in the Prior Action.

        Claim preclusion is based on the policies of achieving finality to a dispute and preventing

the splitting of a dispute into separate controversies, both of which are intended to protect judicial

and economic resources from repeated litigation. Drews, 310 Or. at 141. Because Plaintiff could

have asserted the claims currently alleged against the University in the Prior Action, he is barred

from asserting those claims in this action and the University’s motions to dismiss Plaintiff’s Title

IX Claim, Oregon Constitution Claim, Contract Claims and UTPA Claim should be granted.

V.      Plaintiff’s Due Process Claim should be dismissed.
        A.        Plaintiff does not have a property interest in his higher education.
        The analysis of whether a plaintiff has a protectable property interest turns on the

applicable jurisdiction’s statutes or rules that entitle that locale’s citizens to certain benefits. Goss

v. Lopez, 419 U.S. 565, 572-73 (1975). Plaintiff, however, failed to provide any Oregon or Ninth

Circuit authority that identifies a property interest in higher education. Instead, the cases cited by

Plaintiff are from other federal circuits and other states, which are irrelevant to an analysis of what


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is protected in Oregon.

        Plaintiff also asserts that his property interest arises from a contract that he allegedly had

with the University regarding his continued enrollment. Response, p. 14. However, the cases he

cites in support of his contention are all addressing contracts between students and private

universities. See, e.g., Vejo v. Portland Pub. Sch., 204 F. Supp. 3d 1149, 1175-76 (D. Or. 2016)

(“Oregon law also ‘recognizes that a student and a private university may have a contractual

relationship based on the terms contained in publications that the university provides to the

student.”) (emphasis added). Because the University is a public university, the cases Plaintiff cited

are not applicable to his claim alleging a contract with the University. As described in Defendants’

Motion, Section C(5), and below, Plaintiff did not have a contract regarding continued enrollment

with the University as a matter of law. Therefore, he cannot rely on a contract to provide him with

a property interest in continued enrollment, even if such a concept exists, which the Individual

Defendants do not concede.

        Because Plaintiff is unable to establish that he had a property interest in continued

enrollment, his Due Process Claim fails as a matter of law. The Individual Defendants’ Motion to

Dismiss Plaintiff’s Due Process Claim should be granted.

        B.        The Individual Defendants are entitled to qualified immunity.

        Even if Plaintiff was able to establish that he had a property interest in his higher education,

which he cannot do, the Individual Defendants are entitled to qualified immunity because

Plaintiff’s right was not clearly established. In 2016, when the University’s investigation of the

complaints against Plaintiff occurred, there existed two recent District of Oregon cases holding

that there was no clear basis in Oregon or in the Ninth Circuit establishing a property interest in

higher education. Ryan v. Harlan, No. CV-10-626-ST, 2011 WL 711110, at *7 (D. Or. Feb. 22,

2011); Harrell v. S. Or. Univ., No. CV-08-3037-CL, 2010 WL 2326576, at *8 (D. Or. Mar. 24,

2010). “To be clearly established, ‘[t]he contours of the right must be sufficiently clear that a


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reasonable official would understand that what he is doing violates that right.’” Shinault v. Hawks,

782 F.3d 1053, 1059 (9th Cir. 2015) (citations omitted). Given the state of the law regarding a

student’s property interest in continued higher education in 2016, it is not reasonable to expect the

Individual Defendants to understand that their conduct would violate Plaintiff’s rights.

        This is equally true as to Plaintiff’s claim that he had a property interest arising from some

type of contract he alleges existed with the University. As mentioned above and discussed more

fully below, there is no precedent that an Oregon public university’s student conduct code creates

a binding contract between the public university and the student. Instead, Oregon law limits when

a public university’s policies can form the basis of a contract and the University’s Student Conduct

Code does not meet the necessary requirements. See Defendants’ Motion, Section C(5) and

discussion below. Because there is no precedent that clearly established the alleged property

interest based on the University’s Student Conduct Code, the Individual Defendants are entitled to

qualified immunity from Plaintiff’s Due Process Claim.

VI.     Plaintiff’s Title IX Claim should be dismissed.

        A.        Plaintiff must plead particularized facts connecting the University’s alleged
                  bad conduct to his gender.
        To state a Title IX discrimination claim, Plaintiff must allege particularized facts showing

a causal connection between the allegedly flawed outcome and gender bias. Yusuf v. Vassar Coll.,

35 F.3d 709, 715 (2d Cir. 1994). But rather than point to such allegations in his complaint, Plaintiff

urges the Court to lower the pleading standard to require only a minimal plausible inference of

discrimination, as the Second Circuit recently did. See Doe v. Columbia Univ., 831 F.3d 46, 1226

(2d Cir. 2016) (reversing and finding that an atmosphere of internal and public scrutiny of the

University's treatment of sexual misconduct allegations created a plausible inference in favor of

plaintiff’s sex discrimination claim). Plaintiff’s suggestion should be rejected for the same reasons

set forth in Austin v. Univ. of Or., 205 F. Supp. 3d 1214, 1226 (D. Or. 2016). There, Judge

McShane declined a similar invitation, reasoning that even allegations of an atmosphere of scrutiny

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could not create a “plausible inference that a university's aggressive response to allegations of

sexual misconduct is evidence of gender discrimination.” Id. Further, “to accept the Second

Circuit’s pleading standard would put universities in a double bind. Either they come under public

fire for not responding to allegations of sexual assault aggressively enough or they open

themselves to Title IX claims simply by enforcing rules against alleged perpetrators.”           Id. at

1226-27.

        B.        Plaintiff has alleged no facts establishing the University treated him
                  differently because of his gender.
        Plaintiff’s complaint is completely devoid of any factual allegations as to how the

University’s conduct was based on his sex or gender. He makes no allegations regarding how or

from whom he was treated differently based on his sex or gender. He is relying exclusively on the

separate allegations that he was treated unfairly and that he happens to be a male and, therefore,

the University’s conduct was biased based on his gender. That is simply insufficient to support a

claim for relief; Plaintiff has not alleged facts that show a causal connection between his sex or

gender and the treatment he allegedly received. See Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

Therefore, his Title IX Claim should be dismissed.

VII.    Plaintiff’s Equal Protection Claim should be dismissed.

        A.        Plaintiff must plead particularized facts connecting the University’s alleged
                  bad conduct to his gender.
        Plaintiff does not dispute that, to state a claim for violation of the Equal Protection Clause,

he must allege and prove that the University acted in a discriminatory manner and that the

discrimination was intentional, i.e., that its actions were motivated, at least in part, by Plaintiff’s

sex or gender. Serrano v. Francis, 345 F.3d 1071, 1082 (9th Cir. 2003); Reese v. Jefferson Sch.

Dist. No. 14J, 208 F.3d 736, 740 (9th Cir. 2000). Plaintiff’s Equal Protection Claim fails for the



same reasons that his Title IX Claim fails: he has pleaded only conclusory allegations regarding


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the relationship between the University’s alleged misconduct and his sex or gender.

        B.        Plaintiff has not sufficiently alleged intentional discrimination as he must to
                  sustain his Equal Protection Claim.
        Plaintiff has not pleaded any facts showing that the defendants acted with intent to

discriminate. Nor has he alleged any facts showing a discriminatory motive. Because Plaintiff

has failed to plead factual allegations that could plausibly suggest that he was treated differently

than other accused students and that the alleged difference in treatment was because of his sex or

gender, Plaintiff’s Equal Protection Claim should be dismissed.

VIII.   Plaintiff’s Oregon Constitution Claim should be dismissed.
        Plaintiff does not dispute that in order to state a claim under Article I, section 46 of the

Oregon Constitution, he must plausibly allege facts that establish that the University intentionally

discriminated against him because of his sex. However, for the same reasons discussed above

regarding his Title IX and Equal Protection claims, Plaintiff’s Oregon Constitution Claim fails the

relevant pleading standards set forth by Twombly and Iqbal, and should be dismissed.

IX.     Plaintiff’s Contract Claims should be dismissed.

        A.        The University’s Student Conduct Code is not a contract.
        Plaintiff’s Contract Claims are premised on the idea that the Student Conduct Code and

other related policies and procedures created a contract between the University and Plaintiff that

governed how the University was required to act during the University’s investigation. And,

because the decision in the Prior Action was that the University did not follow its Student Conduct

Code, Plaintiff asserts that the University breached the parties’ contract. Plaintiff argues that the

relevant test for whether a contract exists in this case is not whether the law in question

unambiguously expresses an intention to create a contract, but whether the state occupies a similar

role to a private contracting party with respect to the plaintiff. That simply is not the law.



        As explained in the University’s motion, the Student Conduct Code was adopted “with the

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full force of law.” 2014 OR REG. TEXT 362468 (NS). Laws—like the Student Conduct Code—

do not create contracts between the state and its citizens unless the law in question

“‘unambiguously express[es] an intention to create a contract.’” Does 1–7 v. State of Or., 164 Or.

App. 543, 553 (1999) (quoting Hughes v. State of Or., 314 Or. 1, 13 (1992)); see also,

Weyerhaeuser Co. v. Ellison, 208 Or. App. 612, 618 (2006), rev. denied, 342 Or. 254 (2006)

(same). Such an intention may be found where the legislation evinces an unambiguous “legislative

commitment not to repeal or amend the statute in the future.” See Does 1–7, 164 Or. App. at 554

(quoting FOPPO v. State of Or., 144 Or. App. 535, 539 (1996)). The Student Conduct Code shows

no such intent. Instead, it provides: “All revisions to the Student Conduct Code procedures,

including but not limited to jurisdictional revisions, shall apply retroactively to pending Student

Conduct complaints, filed on or after September 11, 2014.” Walkup Dec., Ex. 7, p 2 (emphasis

added). That explicit statement that the Student Conduct Code can be revised, and that such

revisions will be retroactive, is inconsistent with an unambiguous intention to create a contract,

which must be found for an enforceable statutory contract to exist. In sum, there is no evidence

that the Student Conduct Code was intended to create a contract between the University and

Plaintiff; accordingly, his breach of contract claim should be dismissed.

        Moreover, Plaintiff can point to no case that has found that a public university’s student

conduct code is the basis of a contract between the university and its students. The cases cited by

Plaintiff all involve private universities. See Vejo, 204 F. Supp. 3d at 1175 (analyzing breach of

contract claim against private Lewis & Clark College); Dauven v. George Fox Univ., No. CV. 09-

305-PK, 2010 WL 6089077, at *16 (D. Or. Dec. 3, 2010) (“Oregon law recognizes that a student

and a private university may have a contractual relationship,” and citing cases involving only

private universities) (emphasis added); Tate v. N. Pac. Coll., 70 Or. 160, 161 (1914) (defendant

dental school was a corporation). And the distinction is important: because those cases involve

private universities, they do not implicate the key question at issue here of whether a student


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conduct code with the force of law creates a statutory contract. Simply, there was no contract

between the University and Plaintiff related to the University’s handling of the investigation and

the administrative conference. Therefore, Plaintiff’s Contract Claims should be dismissed.

X.      Plaintiff’s Oregon Constitution and Contract Claims should be dismissed because
        the Prior Action was Plaintiff’s exclusive remedy.

        The University moves to dismiss Plaintiff’s Oregon Constitution Claim and the Contract

Claims because the Prior Action was Plaintiff’s exclusive remedy for his alleged harms. In his

Response, Plaintiff asserts that after successfully petitioning for a writ of review, a plaintiff may

file a subsequent action seeking a different form of relief. Though Plaintiff cites no law in support

of his argument and does not challenge the plain meaning of ORS 34.020, he does attempt to

distinguish the case law cited in Defendants’ Motion.

        Plaintiff seeks to adjudicate facts common to the Prior Action. In Oregon, if a subsequent

action seeks to raise issues common to the quasi-judicial proceeding that was reviewed by a writ

of review and the subsequent action depends on whether the quasi-judicial decision was correctly

made under the list of possible errors in ORS 34.040(1), then the subsequent action is barred unless

it falls within an exception to the exclusive remedy rule such as the one described in Defendant’s

Motion, Section I. See Spivak, 213 Or. App. at 15.

        Plaintiff is correct that the plaintiffs in Friends of Yamhill County v. Bd. of County Comm’rs

of Yamhill County, 278 Or. App. 472 (2016), sought substantially similar relief in a second action

as they had in a previous writ of review proceeding. However, the trial court dismissed the second

action, for declaratory judgment, because the second action raised the same issues that had been

raised in the writ of review proceeding. Id. at 481 (quoting the trial court’s order, “[t]he same

issues raised in this case have been raised in [the writ of review proceeding] which is the

appropriate mechanism for judicial review of [the quasi-judicial decision]”). The Court of Appeals

upheld that decision, in part, because the plaintiffs asked the court in the second action to decide


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whether or not the county had failed to follow its own procedures—an issue that had already been

decided through the writ of review. Id. at 483-84. Though the narrow holding of the Yamhill court

was limited to declaratory judgments seeking substantially the same relief as a writ of review, id.

at 484-85, the court’s reasoning as to why the plaintiff’s second action was barred applies to the

case at hand and is an accurate reflection of Oregon law.

        In addition, the holding in Yamhill does not support the proposition on which Plaintiff

relies—that merely requesting a different form of relief makes the writ of review anything but the

exclusive remedy for an error made in a quasi-judicial proceeding. Neither do DeFrancesco v.

City of Mt. Angel, No. CV-00-480-ST, 2002 WL 31466540 (D. Or. May 10, 2002) and Decker v.

Clark, 95 Or. App. 320 (1989), which Plaintiff misconstrues. Those cases do not stand for the

narrow proposition espoused by Plaintiff—that the writ of review is the exclusive remedy when

claims for damages and the writ are brought at the same time, but the writ is not the exclusive

remedy when claims for damages are brought after the writ. Instead, those cases illustrate the

simple rule that the writ of review is the exclusive remedy for challenges to quasi-judicial decisions

of an inferior tribunal. See Decker, 95 Or. App. at 323.

        In fact, Plaintiff cites no authority that supports his argument that a plaintiff may obtain

relief from a quasi-judicial proceeding via the exclusive remedy of a writ of review and then

maintain a second action based on the same issues by simply requesting a different form of relief.

The only way the Prior Action was not Plaintiff’s exclusive remedy would be if Plaintiff’s claims

fell within the exception to the exclusive remedy rule, whereby the writ of review statutes do not

alter or abolish common law remedies. See Cloyd v. Lebanon Sch. Dist. 16C, 161 Or. App. 572,

578 (1999) As explained in this Reply and in Defendant’s Motion to Dismiss, the University’s

Student Code of Conduct and the SOPs are not contracts. Instead, they have the force of law and

do not give rise to contractual rights regarding which relief must be sought through the writ of

review. See id. at 578-79 (stating the rule that, for a claim arising from “an extra-contractual


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source, such as a statute or an employer rule or handbook,” the writ of review is the sole remedy).

Plaintiff’s claims do not fall within the exception and the Prior Action was Plaintiff’s exclusive

remedy. Because Plaintiff’s exclusive remedy for his Oregon Constitution Claim and Contract

Claims was the Prior Action, those claims should be dismissed.

XI.     Plaintiff’s Contract Claims should be dismissed because Plaintiff already elected his
        remedy.
        If the University Code of Conduct and SOPs did give rise to a contract, which the

Defendants deny, Plaintiff’s Contract Claims are still barred because Plaintiff already elected the

writ of review as his remedy. Plaintiff is correct that the plaintiffs in Spada v. Port of Portland,

55 Or. App. 148, 154 (1981) and Machunze v. Chemeketa Cmty. Coll., 106 Or. App. 707, 714

(1991), which relied on Spada, at one point elected an administrative review of their claims;

however, Plaintiff’s narrow focus on the timing of that election ignores the court’s reasoning in

those cases. The plaintiffs in Spada and Machunze each had two possible claims available to them:

1) a breach of contract claim; and 2) a claim through an appeal process seeking a review of the

decision. 55 Or. App. at 153-54; 106 Or. App. at 714. In those cases, the courts focused on the

fundamental issue of how the parties acted when faced with those two possible claims. See id. In

both cases, the plaintiffs elected to pursue their appeal or review options rather than sue for breach

of contract. “[If the plaintiffs had not elected to use the administrative process, they might have

had a right to bring an independent action for breach of contract.” Machunze, 106 Or. App. at 714

(citing Spada, 55 Or. App. at 154).

        If the University Code of Conduct and SOPs constituted a contract, then Plaintiff, at the

end of the University’s hearing and internal appeal, had two possible claims available to him. In

one hand, Plaintiff had a breach of contract claim, based on the University’s alleged failure to

follow its alleged contractually promised process of conducting its investigation and administrative

conference. In the other hand, Plaintiff had a claim for appeal of the University’s decision that

could be sought through an appeal process—the writ of review. It makes no difference that

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Plaintiff had these two options available to him at the end of the University’s investigation and

hearing process, as opposed to at the outset of the investigation. Rather, the point emphasized in

Spada and Machunze, and relevant here, is that Plaintiff had a choice of remedies, a suit for

breach or an appeal through the writ of review. Having elected the writ of review, Plaintiff may

not now maintain a claim for breach of contract.

        Plaintiff is incorrect that he had “no choice but to use [the writ of review] to challenge the

University’s erroneous quasi-judicial decision.” Response, p. 27. In fact, the statement is illogical.

If Plaintiff can, today, maintain an action for breach of contract based on the University’s failings

under the Code of Conduct and the SOPs, then Plaintiff could have maintained the same action at

the time he chose to appeal the University’s decision through the writ of review. Plaintiff elected

his remedy and obtained it. He cannot now have a second bite at the apple. Plaintiff’s Contract

Claims should be dismissed with prejudice.

XII.    Conclusion
        For the reasons set forth in Defendants’ Motion and as discussed above, each of Plaintiff’s

claims in this case should be dismissed.


        DATED: November 6, 2017.
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